            Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 1 of 11




                                Exhibit 4




1215781-1
                     Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 2 of 11
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                         Southern District
                                                       __________  DistrictofofNew York
                                                                                __________
  In re Application of Kingstown Partners Master Ltd
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                       CC Capital Management, LLC
                                                    200 Park Ave., 58th floor New York, NY 10166
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV
See Schedule B attached hereto
 Place:                                                                                Date and Time:
           Olshan Frome Wolosky, LLP
           1325 Avenue of the Americas New York, NY 10019                                                10/13/2021 9:00 am

          The deposition will be recorded by this method: Stenography and videography

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
 Within 14 days from the court’s order, you shall produce to the undersigned counsel, all documents and things
 that are responsive to the requests set forth in Schedule A hereto in accordance with the definitions and instructions
 therein.

       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        08/31/2021
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Lori Marks-Esterman
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Kingstown Partners Master Ltd                                           , who issues or requests this subpoena, are:

Lori Marks-Esterman of Olshan Frome Wolosky, LLP, 1325 Avenue of the Americas, New York, NY 10019
(212) 451-2300 lmarksesterman@olshanlaw.com; thawkins@olshanlaw.com; kklein@olshanlaw.com
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                     Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 3 of 11
AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                      Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 4 of 11

AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
            Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 5 of 11



                                          SCHEDULE A

                                             Definitions

        As used herein, the terms identified below shall be defined as follows:

        1.       All definitions and rules of construction set forth in Local Civil Rule 26.3 of the

Local Rules of the United States District Court for the South and Eastern Districts of New York

are incorporated herein by reference.

        2.       The “Appraisal Proceeding” shall mean the appraisal proceeding pending before

the Grand Court of the Cayman Islands with cause number FSD 184 of 2020 (RPJ).

        3.       “Blackstone” shall mean Blackstone Inc. and its directors, officers, agents

(including but not limited to attorneys), employees, representatives, parents, subsidiaries,

affiliates, members, partners, and any other person or entity purporting to act on behalf of any of

the foregoing, including, but not limited to, Blackstone ISG-I Advisors L.L.C., Blackstone

Tactical Opportunities Advisors L.L.C., CFS Holdings II (Cayman), L.P., CFS Holdings

(Cayman), L.P., and GSO Capital Partners LP.

        4.       “CC Capital Fee” shall mean the $3.75 million fee paid to CC Capital Partners,

LLC relating to its services relating to the Merger.

        5.       The “Company” shall mean FGL Holdings, and its directors, officers, agents

(including but not limited to attorneys, accountants, investment and financial advisors, and

bankers), employees, representatives, parents, subsidiaries, affiliates, predecessors, successors,

and any other person or entity purporting to act on behalf of any of the foregoing.

        6.       “Board” shall mean the Company’s board of directors and any individual or

subgroup thereof, and any of its/their agents (including but not limited to attorneys, accountants,

investment and financial advisors, and bankers).
                                                  1



5945252-4
            Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 6 of 11




        7.       “FNF” shall mean Fidelity National Financial, Inc. and its directors, officers,

agents (including but not limited to attorneys), employees, representatives, parents, subsidiaries,

affiliates, members, partners, and any other person or entity purporting to act on behalf of any of

the foregoing, including, but not limited to, William Foley.

        8.       “Go Shop” shall refer to the Company’s authorization to solicit additional

proposals for acquisition of the Company during the period from February 7, 2020 through

March 18, 2020.

        9.       “Investment Management Agreements” shall mean the investment management

agreement(s) pursuant to which Blackstone ISG-I Advisors L.L.C. provided investment

management and/or advisory services to the Company and/or Board, any amendments thereto,

and any side letters relating thereto, including any participation fee agreements or other

arrangements relating to the sharing of, or onward payment of any, participation fees, investment

management fees and/or proceeds relating to the same “Participation Fee Agreements.”

        10.      “Merger” shall mean the June 1, 2020 transaction pursuant to which FNF.

acquired the Company.

        11.      “Merger Consideration” shall mean cash and/or FNF common stock that FGL’s

stockholders were entitled to receive upon consummation of the Merger and cancellation of

FGL’s publicly traded shares: either (i) $12.50 in cash or (ii) 0.2558 shares of FNF common

stock, subject to the proration provisions in the Merger Agreement.

        12.      “MVB” shall mean MVB Management, LLC and its directors, officers, agents

(including but not limited to attorneys), employees, representatives, parents, subsidiaries,

affiliates, members, partners, and any other person or entity purporting to act on behalf of any of

the foregoing, including, but not limited to, William Foley and Chinh E. Chu.
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5945252-4
            Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 7 of 11




        13.      “Proxy” shall mean the proxy statement relating to the Merger that was filed by

the Company with the SEC on or about April 28, 2020.

        14.      “Sub-Advisory Agreements” shall mean the agreement(s) pursuant to which

MVB provided sub-advisory services to Blackstone ISG-I Advisors L.L.C, any amendments

thereto, and any side letters relating thereto, including any Participation Fee Agreements.

        15.      “Voting Agreements” shall mean all agreements with respect to any voting

relating to the Merger including, but not limited to, the voting agreements described on pages 64-

65 of the Proxy.

        16.      “You” or “Your” shall mean CC Capital Management LLC and its directors,

officers, agents (including but not limited to attorneys), employees, representatives, parents,

subsidiaries, affiliates, members, partners, and any other person or entity purporting to act on

behalf of any of the foregoing, including, but not limited to, Chinh E. Chu.

                                           Instructions

        1.       These requests are intended to and do cover all documents in Your possession,

custody, or control, or for which You have the practical ability to retrieve, including those

documents in the possession, custody, or control of Your directors, officers, agents (including

but not limited to attorneys), employees, representatives, parents, subsidiaries, affiliates, and any

other person or entity purporting to act on behalf of any of the foregoing.

        2.       These requests do not seek and specifically exclude documents that have been

produced by the Company in the Appraisal Proceedings.

        3.       Each request for a document contemplates production of the document or

electronically stored information in its entirety, without abbreviation or expurgation.


                                                 3



5945252-4
            Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 8 of 11




        4.       Documents or electronically stored information provided shall be complete and,

unless privileged, unredacted, submitted as found (e.g., documents that in their original condition

were stapled, clipped or otherwise fastened shall be produced in such form). To the extent any

responsive document is attached to another document through manual or electronic (e.g., e-mail)

means, both the responsive document and any attachment(s) should be produced. To the extent

only a portion of a document or electronically stored information is privileged, the non-

privileged portion should be produced and any redactions should be clearly marked.

        5.       Electronically stored information (“ESI”) should be produced in the following

format: single page TIFFs, document level text files (text-searchable), native files with all

metadata intact, .DAT with standard Concordance delimiters (should contain the path to native

files and text files), OPT image load file (should contain the page count and volume path). Such

ESI includes but is not limited to electronic mail, spreadsheets, documents created with word

processing software such as Microsoft Word, pictures, audio and video recordings, and

documents in Portable Document Format (“PDF”).

        6.       These requests do not seek information protected by applicable privileges,

including attorney-client privilege or work product privilege. Any document withheld from

production based on a claim of privilege or any similar claim shall be identified in accordance

with Rule 26(b)(5) of the Federal Rules of Civil Procedure and Local Civil Rule 26.2 of the

Local Rules of the United States District Court for the South and Eastern Districts of New York.

        7.       Unless otherwise specified, each request pertains to the period of June 30, 2019,

through April 27, 2020.




                                                 4



5945252-4
            Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 9 of 11



                                       Document Requests

        1.       All documents and communications concerning the fair value of the Company

and/or its stock, including but not limited to documents and communications concerning any

valuation analysis or report, fairness opinion, discounted cash flow analysis, forecasts of the

Company’s future performance, or other documents concerning the value, market value, book

value or fair value of the Company and/or its stock, and the assumptions underlying all analyses,

opinions, reports, or projections concerning the Company.

        2.       All documents created, referenced, cited, reviewed, received, or relied upon by

You in connection with any analysis, opinion, report, and/or projection concerning the fair value

of the Company and/or its stock.

        3.       All documents and communications concerning the Merger Consideration.

        4.       All documents concerning the Merger.

        5.       All documents and communications concerning any agreement or potential

agreement relating to or with the Company and/or the Merger, including any amendments

thereto, including, but not limited to the Investment Management Agreements and the Sub-

Advisory Agreements, and including but not limited to concerning the negotiation and execution

thereof.

        6.       All documents and communications concerning any Voting Agreements,

including, but not limited to, concerning the negotiation and execution thereof.

        7.       All documents and communications concerning the Investment Management

Agreements and/or the Sub-Advisory Agreements, including but not limited to all documents

and communications concerning negotiation and execution thereof.


                                                5



5945252-4
        Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 10 of 11




        8.         All documents and communications concerning CC Capital Partners, LLC’s

interests, incentives and involvement in the Merger, including but not limited to the CC Capital

Fee.

        9.         All documents and communications concerning Your interests and incentives

with respect to the Merger, including but not limited to concerning any potential or actual

conflicts of interest, both directly and through Your subsidiaries, affiliates, and/or related persons

and/or entities.

        10.        All documents and communications exchanged between You and MVB,

Blackstone, and/or FNF concerning the Merger, the Company, the Merger Consideration, the

Voting Agreements, the CC Capital Fee, and/or the Go Shop.

        11.        All documents and communications concerning the Go Shop period, including but

not limited to concerning any efforts to contact potential alternative bidders for the Company.




                                                  6



5945252-4
        Case 1:21-mc-00691-LTS Document 4-4 Filed 08/31/21 Page 11 of 11



                                           SCHEDULE B

                                          Deposition Topics

        The Definitions in Schedule A are incorporated herein by reference. You shall testify

concerning:

        1.      All documents produced by You in response to this Subpoena and the method by

which such documents were identified, collected, and reviewed for production.

        2.      The Merger, Merger Consideration, Voting Agreements, Investment Management

Agreements, Sub-Advisory Agreements, CC Capital Fee, and Go Shop.

        3.      Your correspondence with Blackstone, MVB and FNF relating to the Merger,

Merger Consideration, Voting Agreements, Investment Management Agreements, Sub-Advisory

Agreements, and Go Shop.

        4.      The value of the Company and/or its stock, and any valuations, analyses, reports,

projections, and opinions relating thereto.

        5.      All agreements relating to the Company and/or Merger, including but not limited

to the Investment Management Agreements, Sub-Advisory Agreements.

        6.      Your interests and incentives with respect to the Merger, including but not limited

to concerning any potential or actual conflicts of interest, both directly and through Your

subsidiaries, affiliates, and/or related persons and/or entities.




                                                   7



5945252-4
